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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

ROSY GIRON DE REYES, et al.,
Plaintiffs,

Vv. Civ. No. 1:16cv563

WAPLES MOBILE HOME PARK
LIMITED PARTNERSHIP, et al.
Defendants.

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ORDER

 

THIS MATTER came before the Court on Plaintiffs’ Motion to
Compel Production of Documents (Dkt. 82.) Plaintiffs assert that
defendants improperly withheld documents as privileged and
redacted portions of other documents without designating them on
the privilege log.

Upon review of the pleadings and the privilege log, the
Court finds that the defendants have set forth a prima facie
claim of work-product privilege. The description of the
documents withheld clearly indicate that, though they may be
directed to a third party, they contain investigatory directions
and information relating to discovery responses, as well as
other work product privileged information and materials. In
fact, the vast majority of them were created near to or after
the filing of the complaint in this case. It does not appear

that there is any reason why plaintiff cannot obtain the
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information on the same subject matters by other means.

As to documents that were partially redacted as irrelevant
to the discovery requests, they need not be listed on the
privilege log. The purpose of a privilege log is to list
documents that would be discoverable, but for a claim of
privilege, and impart enough information for a party to test
that claim of privilege. Irrelevant information contained within
an otherwise relevant document is like any other irrelevant
material that need not be produced. Absent specific need,
personal information and identities would certainly be
irrelevant.

Therefore, Plaintiffs’ Motion to Compel is DENIED.

ENTERED this 17th day of November, 2016.

Is]
eresa Carroll Buchanan
United States Magistrate Judge

 

THERESA CARROLL BUCHANAN
UNITED STATES MAGISTRATE JUDGE

Alexandria, Virginia
